Case 1:18-cv-01429-PLM-RSK ECF No. 39 filed 03/01/19 PageID.303 Page 1 of 2



                                                                                                                                                                                                 UNITED STATES DISTRICT COURT
  PENTIUK, COUVREUR & KOBILJAK, P.C. • ATTORNEYS AND COUNSELLORS AT LAW • EDELSON BUILDING, SUITE 200 • 2915 BIDDLE AVENUE, WYANDOTTE, MICHIGAN 48192 • (734) 281-7100                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                                                                                                                                                                                      SOUTHERN DIVISION

                                                                                                                                                                         GUN OWNERS OF AMERICA, INC.,
                                                                                                                                                                         et al.,

                                                                                                                                                                                        Plaintiffs,                                     Case No. 1:18-cv-01429
                                                                                                                                                                                                                                        Hon. Paul L. Maloney
                                                                                                                                                                         v.

                                                                                                                                                                         MATTHEW WHITAKER, et al.,

                                                                                                                                                                                     Defendants.
                                                                                                                                                                         ___________________________________________________________________________

                                                                                                                                                                                          GUN OWNERS OF CALIFORNIA’S MOTION TO BE
                                                                                                                                                                                       JOINED AS A PARTY PLAINTIFF PURSUANT TO FRCP 20

                                                                                                                                                                                NOW COMES, GUN OWNERS OF CALIFORNIA, INC., (“GOC”) by and through its

                                                                                                                                                                         Attorneys, PENTIUK, COUVREUR & KOBILJAK, P.C., pursuant to Rule 20 of the Federal

                                                                                                                                                                         Rules of Civil Procedure, and hereby moves to join proposed Plaintiff GOC with Plaintiffs GUN

                                                                                                                                                                         OWNERS OF AMERICA, INC., GUN OWNERS FOUNDATION, VIRGINIA CITIZENS

                                                                                                                                                                         DEFENSE LEAGUE, MATT WATKINS, TIM HARMSEN, and RACHEL MALONE, on the

                                                                                                                                                                         grounds that the claims asserted against the Defendants and Plaintiffs’ rights to relief arise out

                                                                                                                                                                         of the same series of transactions or occurrences and implicate common questions or fact and

                                                                                                                                                                         law, and in support states as follows:

                                                                                                                                                                                1.      Defendants were contacted and stated by email on February 22, 2019, that they

                                                                                                                                                                         do not oppose joinder of Gun Owners of California in this action.

                                                                                                                                                                                2.      GOC has read the Plaintiffs’ Complaint for Declaratory and Injunctive Relief, is

                                                                                                                                                                         a person that meets the criteria of FRCP 20, and desires to be joined as a Plaintiff in this action.

                                                                                                                                                                                3.      GOC relies upon its Brief in Support of this Motion attached hereto.




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                                                                                                                                                                                   WHEREFORE, GUN OWNERS OF CALIFORNIA, INC., respectfully requests this
  PENTIUK, COUVREUR & KOBILJAK, P.C. • ATTORNEYS AND COUNSELLORS AT LAW • EDELSON BUILDING, SUITE 200 • 2915 BIDDLE AVENUE, WYANDOTTE, MICHIGAN 48192 • (734) 281-7100
                                                                                                                                                                         Honorable Court grant the relief requested in this Motion and permit it to join this action as a

                                                                                                                                                                         Plaintiff.

                                                                                                                                                                                                                             Respectfully submitted,
                                                                                                                                                                                                                             PENTIUK, COUVREUR & KOBILJAK, P.C.


                                                                                                                                                                                                                             By: /s/ Kerry L. Morgan
                                                                                                                                                                                                                             Kerry L. Morgan (P32645)
                                                                                                                                                                                                                             Attorney for Gun Owners of California, Inc. and
                                                                                                                                                                                                                             Plaintiffs
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                                                                                                                                                                                                                             Of Counsel

                                                                                                                                                                         Dated: March 1, 2019.
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